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                       UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

  Matthew D. Guertin


                Plaintiff(s)                             Case No: 24-cv-2646-JRT-DLM

        v.
 Hennepin County, et al

                Defendant(s)


                       CLERK’S NOTICE OF APPLICATION FOR
                     PRO SE LITIGANT TO FILE ELECTRONICALLY

Notice is hereby given that a pro se litigant in the above-captioned matter has been granted
privileges to electronically file documents with the Court and to receive electronic service of
filings in this case.

        Pro Se E-Filer: Matthew David Guertin

The above named pro se litigant has consented to the following:

       To abide by the Federal Rules of Civil Procedure, the Federal Rules of Criminal
        Procedure, and the Local Rules for the United States District Court for the District of
        Minnesota.
       To abide by all provisions of Local Rule 5.1, “Electronic Case Filing,” the “Order
        Adopting Electronic Case Filing Procedures” signed by the Court on May 17, 2004, and
        the most recent version of the Court’s Civil and Criminal ECF Procedures Guides for the
        District of Minnesota.
       To title all transmissions for electronic filings of pleadings and documents to the ECF
        system in accordance with the approved directory of civil and criminal events in the ECF
        system.
       To protect the security of the ECF login and password issued by the Court, and to inform
        the Clerk of Court if the ECF account is used improperly.
       To abide by the provisions of Federal Rule of Civil Procedure 11, which applies with full
        force and effect to documents filed using ECF.
       To receive service of notice of Court Orders and judgments electronically through the
        Court’s ECF system under Federal Rule of Civil Procedure 77(d) and Federal Rule of
        Criminal Procedure 49(c), and to waive service of such notice by other means under
        Federal Rules of Civil Procedure 5(b)(2) and 77(d) and Federal Rule of Criminal
        Procedure 49(c).

Date:          07/10/2024                           s/     KOA
                                                         Deputy Clerk
